891 F.2d 290
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Neil J. FARKAS, D.O., Plaintiff-Appellant,v.Barbara ROSS-LEE, D.O. and Myron Magen, D.O., Defendants-Appellees.
    No. 89-1278.
    United States Court of Appeals, Sixth Circuit.
    Dec. 12, 1989.
    
      Before KEITH and ALAN E. NORRIS, Circuit Judges, and BAILEY BROWN, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Plaintiff appeals from the Order of the district court granting summary judgment to defendants.
    
    
      2
      Having had the benefit of oral argument, and having carefully considered the record on appeal and the briefs of the parties, we are unable to say that the district court erred in granting summary judgment to defendants.   Accordingly, the judgment of the district court is affirmed upon the reasoning set forth in the district court's Opinion of January 30, 1989.
    
    